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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

  CSX TRANSPORTATION, INC.,
  individually and on behalf of
  NORFOLK AND PORTSMOUTH BELT LINE
  RAILROAD COMPANY,

                        Plaintiff,

   v.                                                   Civil Action No. 2:18-cv-530-MSD-LRL

  NORFOLK SOUTHERN RAILWAY
  COMPANY, et al.,

                        Defendants.


            MEMORANDUM IN SUPPORT OF NPBL’S MOTION TO COMPEL

         Norfolk and Portsmouth Belt Line Railroad Company, by counsel, in support of its motion

  to compel interrogatory answers from CSX Transportation, Inc., states as follows:

                                          BACKGROUND

         The Belt Line is a short-line railroad owned by two long-haul railroads (also its only long-

  haul customers), plaintiff CSXT and co-defendant Norfolk Southern Railway Company. CSXT

  owns 43% of the Belt Line and NS owns 57%. CSXT appoints two of the six voting members of

  the Belt Line’s Board of Directors and NS appoints three. The sixth voting member is the Belt

  Line’s President and General Manager.

                                       The alleged conspiracy

         CSXT’s Complaint contains four counts against the Belt Line. Critically here, all of them

  hinge on an alleged conspiracy between the Belt Line and NS to harm CSXT’s business at Norfolk

  International Terminals (“NIT”). Counts I and II allege conspiracy violations of the Sherman Act;

  Counts VIII and IX allege statutory and common-law civil conspiracy. See Compl. (ECF No. 1).



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         The gist of all the allegations is that the Belt Line and NS have conspired to deny CSXT

  rail access to NIT. The Complaint alleges that the Belt Line and NS “have allegedly done so by

  causing Belt Line to establish and maintain unreasonably high rates for its switch services for

  intermodal freight….” ECF No. 66 at 6 and 23 (describing the alleged conspiracy as “setting the

  Uniform Rate charged to access NIT too high in order to deter competition”).

         How the Belt Line conspired with NS, including what communications or overt acts

  evidence such a conspiracy, remains veiled in mystery. This is so despite CSXT taking more than

  a dozen depositions of NS and Belt Line employees, including corporate depositions under Rule

  30(b)(6), and the three companies collectively producing more than 90,000 documents.

                                  The Belt Line’s Interrogatories to CSXT

         At issue in this motion are CSXT’s answers to two interrogatories propounded by the Belt

  Line, numbers 3 and 4, which ask CSXT to identify the communications and overt acts that form

  the basis for the alleged conspiracy. Specifically, interrogatory number 3 asks:

                 3.    Identify the specific communication(s) between the Belt Line and
         NS that you contend form the basis for the conspiracy alleged in Counts I, II, VIII,
         and IX of your Complaint, including the identities of the specific persons involved
         in such communication(s), the dates and circumstances of such communication(s),
         and all documents that support your answer.

  Exhibit A at p. 6 (emphasis added). Interrogatory number 4 asks:

                  4.     Identify the specific overt act(s) by NPBL that you contend form
         the basis for the conspiracy alleged in Counts I, II, VIII, and IX of your Complaint,
         including the identities of the specific persons who you contend committed such
         act(s), the dates and circumstances of such act(s), and all documents that support
         your answer.

  Id. at p. 8 (emphasis added).

         Despite multiple letters, supplements, and telephone conferences, CSXT has failed to

  answer either interrogatory. It has not identified any communications between defendants or overt




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  acts by the Belt Line that support a conspiracy at all. Instead, it has cited to dozens of random

  documents that, as the Belt Line has repeatedly informed CSXT, are not in any way responsive.

  The documents it cites are almost entirely internal NS emails that detail NS’s own plans to compete

  with CSXT in the market, but say nothing about conspiring with NPBL. The rest include internal

  CSXT emails and correspondence from CSXT to the Belt Line, which obviously cannot form the

  basis for a conspiracy with NS.

         CSXT has acknowledged this nonresponsiveness during the parties’ multiple meet and

  confers, but has not changed its answers to acknowledge the lack of evidence. Instead, CSXT’s

  position is that it does not have to identify the conspiratorial communications or acts in discovery

  because, according to CSXT, it “need not produce direct evidence of the conspiracy to prevail on

  its claims” at trial. See letter from CSXT’s counsel dated July 13, 2020, p. 2 (Exhibit B).

         CSXT claims that its answers are sufficient because the cited documents “provide indirect

  evidence sufficient to permit a trier of fact to infer that NS and NPBL were in contact in pursuit of

  the same goal.” Id. Yet even if that were true (it is not, as shown below), the interrogatories do

  not ask CSXT to identify indirect evidence that may support an inference of a conspiracy. They

  ask CSXT to identify direct evidence (the “specific communication(s) between the Belt Line and

  NS” and the “specific overt act(s) by NPBL”), if any exists.

         It is because CSXT refuses to answer the interrogatories that the Belt Line brings this

  motion. Even after multiple meet and confers and attempts by CSXT to supplement, the Belt Line

  still has no idea how CSXT believes it conspired with NS. It does not know what it said to NS or

  what it did with NS to either form or further the alleged conspiracy, despite asking point blank for

  the information. And the answers to these questions could not be more critical, as every claim

  against the Belt Line in this case depends on a conspiracy.




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          To compound the problem, CSXT has similarly objected to the Belt Line’s Rule 30(b)(6)

  topics asking CSXT to prepare a witness on these two points. Why? Because, according to CSXT,

  the appropriate vehicle for asking that information is an interrogatory. See CSXT Obj. to Rule

  30(b)(6) Dep. Topics (Exhibit C).

          If CSXT’s admitted nonresponses are allowed to stand, the Belt Line will be forced to

  continue through months of expensive litigation, stonewalled from obtaining the very information

  that it needs to prepare its defense. That is completely contrary to the purpose of the discovery

  rules. See 8 Wright & Miller, Federal Practice & Procedure § 2001 (2d ed. 1987) (the purpose

  of the discovery rules is “to avoid surprise and the possible miscarriage of justice, to disclose fully

  the nature and scope of the controversy, to narrow, simplify and frame the issues involved, and to

  enable a party to obtain the information needed to prepare for trial”).

                                      STANDARD OF REVIEW

          Rule 37 provides that “A party seeking discovery may move for an order compelling an

  answer … if … a party fails to answer an interrogatory submitted under Rule 33.” Fed. R. Civ. P.

  37(a)(3)(B)(iii). It further provides that “an evasive or incomplete disclosure, answer, or response

  must be treated as a failure to disclose, answer, or respond.” Fed. R. Civ. P. 37(a)(4).

          The Belt Line seeks entry of an order under Rule 37 (1) striking CSXT’s current answers

  to interrogatories 3 and 4, and (2) compelling CSXT to provide full and complete answers, either

  by identifying the specific communications between the Belt Line and NS and the overt acts by

  the Belt Line that form the basis for the alleged conspiracy, or stating that CSXT cannot identify

  any, if that is the case.




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                                         ARGUMENT

  I.        CSXT’s answers to interrogatory numbers 3 and 4 are evasive and incomplete.

         CSXT answered interrogatory number 3 as follows: 1




  1
          CSXT asserted a number of objections to interrogatory numbers 3 and 4, but has never
  stated that information or documents were being withheld on the basis of an objection.


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                                                                                         f




  Exhibit A at pp. 6-8.

         CSXT answered interrogatory number 4 by referring back to the documents cited in

  response to number 3. See id. at p. 8 (“



                                                  ”).

         These answers are deficient. While CSXT identifies broad topics, it fails to identify any

  communications between the Belt Line and NS or any overt acts by the Belt Line that form the

  basis for an alleged conspiracy, as the interrogatories require.




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         Attached hereto collectively as Exhibit D are copies of all the documents CSXT cited so

  the Court can appreciate how confounding they actually are. Without going through every

  document in detail, the sampling below includes the first two bates-labeled documents from each

  category. None of them are communications between the Belt Line and NS that could possibly

  form the basis for the alleged conspiracy, nor do they reference any overt acts by the Belt Line:



         1.                       (Exhibit D at p. 2)




         2.                       (Exhibit D at p. 11)




         1.                       (Exhibit D at p. 42)




         2.                       (Exhibit D at p. 45)




         1.                      (Exhibit D at p. 61)




         2.                       (Exhibit D at p. 106)


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        1.                (Exhibit D at p. 122)




        2.             (Exhibit D at p. 124)




        1.             (Exhibit D at p. 167)




        2.             (Exhibit D at p. 169)




        1.              (Exhibit D at p. 182)




                                     REDACTED




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         2.                   (Exhibit D at p. 186) 2




         2.                (Exhibit D at p. 194)



                                          *        *     *

         Importantly, these documents are not cherry-picked. They are the first bates-labeled

  documents in each group, representative of the dozens of random documents that follow.

         When the Belt Line notified CSXT about the deficiencies, see Exhibit E, CSXT at first

  failed to even supplement. Instead, it tried to justify the lack of responsiveness by claiming it

  “cannot identify every communication between NPBL and NS in a decades-long conspiracy, nor

  can it identify every communication, particularly as CSXT is not privy to all non-email

  communications.” Exhibit F. 3 Of course, even one would have been a start.




  2
          CSXT notified the Belt Line that the second bates-labeled document in this category was
  “inadvertently cited” and “should be omitted from that paragraph.” Therefore, the Belt Line has
  identified the third document in this category.
  3
          During the meet and confer, CSXT also asserted that its citations to these documents is
  “appropriate under Rule 33(d) of the Federal Rules of Civil Procedure.” Exhibit F, p. 1. But the
  rule permits a party to produce its own business records in response to an interrogatory, not the
  records of the requesting party or another party. See Fed. R. Civ. P. 33(d). It therefore does not
  permit what CSXT has done here. Except for the emails and correspondence from CSXT, the rest
  of the documents CSXT cites to are business records of the Belt Line and NS.



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         Yet CSXT’s evasiveness is not justifiable. Most obviously, CSXT has not identified any

  communication between the defendants that forms the basis for an alleged conspiracy, let alone

  “every” communication. And CSXT is the one alleging that “NPBL and NS have had numerous

  communications in furtherance of this continuing conspiracy.” What is more, CSXT cannot evade

  its discovery obligations by claiming it is not privy to non-email (presumably oral)

  communications. CSXT has been provided tens of thousands of documents, not all emails, from

  both electronic and hard-copy productions, for which it chose the search terms. CSXT also has

  taken the Rule 30(b)(6) depositions of both the Belt Line and NS. It also has taken individual

  depositions of Cannon Moss (the Belt Line’s president since 2011), David Stinson (the Belt Line’s

  president from 2008 to 2011), and Donna Coleman (the Belt Line’s vice president since 2006), as

  well as depositions of seven NS employees. Its discovery window is closed, and it has come up

  with literally nothing.

         Nevertheless, on July 1, 2020, instead of answering the interrogatories or even refocusing

  the document citations, CSXT supplemented its answer with citations to additional documents.

  See Exhibit G. The supplemental documents (attached collectively as Exhibit H) are even less

  responsive than the first set. As above, the sampling below includes the first supplemental

  documents in each category:



         1.                  (Exhibit H at p. 2)




         2.                  (Exhibit H at p. 4)




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         1.                 (Exhibit H at p. 7)




         1.                 (Exhibit H at p. 9)




         2.                 (Exhibit H at p. 11)




         1.                 (Exhibit H at p. 45)




         1.               (Exhibit H at p. 46)




         2.                 (Exhibit H at p. 47)




                                         *        *    *

         Accordingly, because CSXT has failed to answer either interrogatory, and because no

  answer is discernible at all from this hodgepodge of random documents, the Belt Line moves for



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  an order (1) striking CSXT’s current answers and (2) compelling CSXT to provide complete and

  responsive answers to the specific questions asked.

  II.    The Court should reject CSXT’s attempt to avoid answering the interrogatories.

         On July 13, 2020, following another telephonic meet and confer between counsel, CSXT

  wrote a letter to the Belt Line attempting to justify its interrogatory answers. See Exhibit B. As

  discussed above, in this correspondence CSXT offered that it “need not produce direct evidence

  of the conspiracy to prevail on its claims,” and therefore it should be sufficient that the cited

  documents “provide indirect evidence sufficient to permit a trier of fact to infer that NS and NPBL

  were in contact in pursuit of the same goal.” Id.

         The Court must reject CSXT’s argument. CSXT is confusing what it needs to prove at trial

  with what it is required to provide in sworn answers to interrogatories. Parties are not free to

  answer interrogatories they wish had been propounded; they must answer the ones actually

  propounded. CSXT cannot avoid identifying whatever direct evidence it has of the conspiracy by

  arguing that it may succeed at trial with indirect evidence. CSXT’s argument is all the more

  egregious in this case because the documents cited are not even indirect evidence of a conspiracy,

  nor could a conspiracy be inferred from them.

         If in fact CSXT cannot identify any such communications or overt acts, it must so state in

  its answer. That CSXT wants to infer a conspiracy does not make it so, and certainly does not

  justify its evasiveness. The Belt Line should not be forced to go through the rest of litigation not

  knowing if CSXT has direct evidence against it.

                                           CONCLUSION

         WHEREFORE, the Belt Line respectfully moves this Court for entry of an order (1)

  striking CSXT’s current answers to interrogatories 3 and 4, (2) compelling CSXT to provide full




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  and complete answers, either by identifying the specific communications between the Belt Line

  and NS and the overt acts by the Belt Line that form the basis for the alleged conspiracy, or stating

  that CSXT cannot identify any, if that is the case, and (3) granting the Belt Line all other just and

  necessary relief.

         Dated: July 24, 2020                   NORFOLK AND PORTSMOUTH BELT LINE
                                                RAILROAD COMPANY

                                                By:             /s/ W. Ryan Snow

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                                 CERTIFICATE OF GOOD FAITH

           In accordance with Federal Rule of Civil Procedure 37 and Local Civil Rule 37(E), I hereby
  certify that a good faith effort has been made between counsel for the Belt Line and CSX to resolve
  the discovery matters at issue.

                                                                 /s/ W. Ryan Snow
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 24th day of July 2020, I electronically filed the foregoing
  document with the Clerk of the Court for the U.S. District Court, Eastern District of Virginia, Norfolk
  Division, using the electronic case filing system of the court. The electronic case filing system will
  send a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
  accept this Notice as service of this document by electronic means.

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